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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

    Civil Action No. 21-cv-02794-NYW-MEH

    JOAQUIN A. GUZMAN LOERA,

            Plaintiff,
    v.

    B. TRUE, individually, and in his official capacity as Complex Warden of the United States
    Penitentiary Florence ADMAX,
    HOLBROOKS, individually, and in his official capacity as Prisoner Counselor at United States
    Penitentiary Florence ADMAX,
    MERRICK GARLAND, in his official capacity as Attorney General of the United States,
    MICHAEL CARVAJAL, in his official capacity as Director of Bureau of Prisons,
    DOES 1–5, individually, and in their official capacities as Medical Staff at United States
    Penitentiary Florence ADMAX, and
    DOES 6–10, individually, and in their official capacities as Educational Staff at United States
    Penitentiary Florence ADMAX,

          Defendants.


                    STIPULATION OF DISMISSAL WITHOUT PREJUDICE


          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby stipulate to the dismissal of

   this action without prejudice. Each party will bear its own attorney’s fees, costs, and expenses.

         Respectfully submitted this 22nd day of June, 2023.

         s/ Arturo Hernandez-Melendez                      COLE FINEGAN
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on June 22, 2023, I electronically filed the foregoing with the Clerk
   of the Court using the CM/ECF system, which will send notification of such filing to all parties
   via counsel of record.


                                                         s/ Thomas A. Isler
                                                         Thomas A. Isler




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